Case 1:19-cv-02232-TJK Document 94-1 Filed 08/17/23. Pagelof3

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
Plaintiff,
V. Case No. 1:19-cv-02232 (TJK)
DEUTSCHE TELEKOM AG, ef ai.,

Defendants.

[PROPOSED] ORDER GRANTING
DEFENDANT DISH NETWORK CORPORATION’S
MOTION FOR RELIEF FROM JUDGMENT

Upon consideration of Defendant DISH Network Corporation’s Motion for Relief
from Judgment in the above-captioned matter, and the Declaration of John Swieringa in support

thereof, it is this day of , 2023, hereby

ORDERED, that DISH Network Corporation’s Motion for Relief from Judgment
be, and the same hereby is, GRANTED; and it is

FURTHER ORDERED, that Section IV.B.1 of the Final Judgment (ECF No. 85)
be, and the same hereby is, MODIFIED to require the Divesting Defendants (i.e., T-Mobile and
Sprint) to divest the 800 MHz Spectrum Licenses in a manner acceptable to the United States, in

its sole discretion, after consultation with the affected Plaintiff States on or before June 30, 2024.

United States District Judge
Case 1:19-cv-02232-TJK Document 94-1

Filed 08/17/23

The following are entitled to be notified of the entry of this Order:

Frederick S. Young
Ashley Kaplan

Antitrust Division

U.S. Department of Justice

450 5th Street, N.W.

Washington, DC 20530

Telephone: (202) 514-5621

Facsimile: (202) 514-6381

Email: Federick. Young@usdoj.gov
Ashley.Kaplan@usdoj.gov

Michael T. Hilgers
Phil Carlson
Joseph Conrad

Office of the Attorney General

State of Nebraska

2115 State Capitol

Lincoln, Nebraska 68509

Telephone: (402) 471-3811

Email: phil.carlson@nebraska.gov
joseph.conrad@nebraska.gov

Gentner Drummond
Bryan Cleveland
Zach West

Office of the Attorney General

State of Oklahoma

313 N.E. 21st Street

Oklahoma City, Oklahoma 73105-4894

Telephone: (405) 521-3921

Email: Bryan.Cleveland@oag.ok.gov
zach. west@oag.ok.gov

Kris Kobach
Lynette Bakker

Office of the Attorney General
State of Kansas

120 S.W. 10th Avenue, 2nd Floor
Topeka, Kansas 66612-1597
Telephone: (785) 296-2215

Email: Lynette.Bakker@ag.ks.gov

Dave Yost
Robert Yaptangco

Attorney General

State of Ohio

150 E. Gay St., 22nd Floor

Columbus, Ohio 43215

Telephone: (614) 466-4328

Email: robert.yaptangco@ohioago.gov

Martin J. Jackley
Charles McGuigan
Yvette Lafrentz

Attorney General

State of South Dakota

1302 E. Highway 14, Suite 1

Pierre, SD 57501-8501

Telephone: (605) 773-3215

Email: Charles. McGuigan@state.sd.us
Yvette.Lafrentz@state.sd.us

Page 2 of 3
Case 1:19-cv-02232-TJK Document 94-1

Rachel S. Brackett

Office of the Attorney General
State of Florida

PL-01, The Capitol
Tallahassee, FL 32399-1050
Phone: (850) 414-3856

Fax: (850) 488-9134

Email: rachel.brackett@myfloridalegal.com

Matthew C. Solomon

Cleary Gottlieb Steen & Hamilton LLP
2112 Pennsylvania Avenue, NW
Washington, DC 20037

Telephone: (202) 974-1500

Email: msolomon@cgsh.com

Steven C. Sunshine

Skadden, Arps, Slate, Meagher & Flom
LLP 1440 New York Avenue NW
Washington, DC 20005

Telephone: (202) 371-7860

Facsimile: (202) 661-0560

Email: steve.sunshine@skadden.com

Bradley P. Smith

Sullivan & Cromwell LLP

125 Broad Street

New York, New York 10004
Telephone: (212) 558-1660
Facsimile: (212) 558-3588
Email: smithBR@sullcrom.com

Filed 08/17/23 Page3of3

David L. Meyer

Morrison & Foerster LLP

2000 Pennsylvania Avenue NW,
Suite 6000

Washington, DC 20006-1888
Telephone: (202) 887-1888
Facsimile: (202) 887-0763
Email: dmeyer@mofo.com

Pantelis Michalopoulos

Steptoe & Johnson LLP

1330 Connecticut Avenue NW
Washington, DC 20036

Telephone: (202) 429-6494
Facsimile: (202) 429-3902

Email: pmichalopoulos@steptoe.com

Adam Paris

Sullivan & Cromwell LLP

1888 Century Park East, 21st Floor
Los Angeles, CA 90067-1725
Telephone: (310) 712-6600
Facsimile: (310) 712-8800

Email: parisa@sullcrom.com
